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                                   UNITED      STATES         DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                             Norfolk Division


   SHAWN CURRAN,


                  Plaintiff,
  V.                                                                                   Civil      No.       2:19cv617


  AXON ENTERPRISE,             INC.,      et   al   ●   #




                  Defendants.




                                             OPINION AND                ORDER


          This    matter       is    before         the       Court       on    three        cross-motions             for


   summary        judgment           filed              respectively                 by         Defendants          Axon

   Enterprise,         Inc.        ("Axon"),                ECF    No.        101,        and     Richard         Nelson

   ("Nelson"),           ECF        No.        103,               and      Plaintiff                  Shawn       Curran

   ("Plaintiff"),            ECF    No.      105.            For    the       reasons           set       forth   below.


   each motion for summary judgment is DENIED.

                                        I.      FACTUAL BACKGROUND^


                                        A.      Training and Injury

          On     December           14,        2017,              Plaintiff           was         injured          while

  participating in a training session to become a TASER® Conducted

   Energy Weapon             ("CEW")      instructor.                   ECF    No.        102,    at       6.     As    is


   relevant      here,       TASER      CEWs     are          designed          for       law enforcement              and

   are operated by deploying a non-lethal "probe" designed to cause

   ^ These undisputed facts are drawn from across the various summary
   judgment filings and the Fourth Circuit's earlier opinion in this case,
   ECF No. 81, and are presented as context for the analysis that follows.
   To   the   extent   the    Court's     recitation of             the   facts       includes        a    discussion of
   certain factual disputes,              the Court does not resolve such disputes at the
   summary judgment stage.
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   the         neuromuscular                      incapacitation                 of        an       aggressor.            Put        in    lay

   terms,                the probe              is a dart charged with electric                                      current.              ECF


  Nos.              104-5           to     104-7.              Most    of        the       evidence          before            the    Court


   affirms                that            the         probes       used         in     the          instant         TASER       training

                                         inert         by design and did not                            deliver any             electric
                                    \\           tt
   course                were




   charge                or    current,               though at        least           one       deponent           was    "not       quite

                    if        the        training probes               were          completely deenergized.^                              See
              //
   sure



   ECF        Nos.        52-1,           53-5,            54-7.


                    Plaintiff               is         a     former    police              officer          with         the    Virginia

  Beach              Police              Department               ("VBPD").            ECF       No.       106,     at    1.         At    the


   time of                the       training session at                     issue,              Plaintiff was             employed as

   a      defensive                      tactics           coordinator      n
                                                                                 with        the       VBPD.        ECF    No.       104-1.



  Defendant                    Axon         manufactures               TASER          brand          products            and    provides

   training materials                                 to     educate       TASER           CEW      users      on    proper          usage.


   ECF             No.        102,         at     7.          Defendant              Nelson,           a    TASER         CEW        Master



   Instructor,                            taught            the     training               session          where         Plaintiff's
                                n




   injury occurred.^                                  ECF    No.    102,        at    1.        A    Master       Instructor              is   a


       teach             the        teacher"                position             the        Master          Instructor           teaches
   w




       certified                TASER           users         to    become           instructors             themselves. It                Id.


  2 In his deposition testimony. Plaintiff Shawn Curran was asked    [s]o you
  aren't sure if the actual training probes used delivered electricity or
  not?  and responded   [y]eah, I'm not quite sure. I don't believe they did,
          n




  but I'm not 100 percent.
                                                       ff
                              ECF No. 52-1.



  ^ Nelson entered into a non-exclusive agreement with Axon titled "TASER
  Certified Instructor Independent Contractor Agreement,     The agreement
  defines Nelson's relationship with Axon as "solely that of an independent
  contractor," though Plaintiff contests this characterization.    ECF No.
   102,        at    4.



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   at     4.         The         instructor               course       in     which        Plaintiff              participated

   included 24                other officers.                    ECF No.       81,       at     3.


               The         TASER       CEW     instructor              course        had        two        main    components:

   classroom                instruction               and       practical,           scenario-based                           training.

   The         instructor              course        began        on       December        13,        2017,        and         ran     for

   two     days.               ECF      No.        102,    at     9-10.        On        day     one,        the              classroom
                                                                                                                         >\




   portion"              of      the    training,              Nelson presented a                     lengthy PowerPoint

   prepared           by Axon.                 Id.        This     PowerPoint             presentation                   instructed

   trainees on the design of                                the TASER CEW,                explaining,              among            other

   things,                 how     the       weapon         is     activated             and         the    cartridges                 are
                     u




   deployed.                   Id.      at    8.     Nelson also presented product warnings                                             to
                      //




   trainees           and         administered a written                       test        required           for             TASER    CEW

   instructor                 certification,               both of which were written by Axon and

   could        not        be     modified           by    the     master          instructors.                   ECF         No.     132,

   at    2 .



               On    day         two,        the     "practical             training"            day.        Nelson             oversaw

   the     training              drill        that        led    to    Plaintiff's              injury.            ECF          No.    102


   at    6.          Performed               inside        a    gymnasium,           the        "box        drill              training
                                                                                                                    //




   area is delineated by several wrestling mats vertically arranged

   to    form a large square.**                            ECF     No.      106,     at    3.         One    trainee,               armed


  with         a     TASER         CEW,        waits        inside          this    wrestling               mat-constructed

  box until                 he    is     approached by                 a    second        "aggressor"              trainee             who

        The parties appear to dispute whether Axon designed and taught Nelson
   the    box       drill,        ECF    No.       123,    at    11,   and    whether         Nelson        told    the         trainees
  that the TASER weapons were only supposed                                         to    be     discharged          within           this
  protective square. ECF No. 124, at 3.

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   initially            hid    outside               the       box.            Id.            If      the        armed       trainee


   determines that the approaching aggressor is a threat,                                                                 the armed

   trainee        discharges              the        TASER       CEW     at     the           aggressor,             who    is     clad


   in    a specialized body suit and helmet                                           to avoid injury when hit

  by the         CEW probe.               Id.         This       helmet         includes              a    face       shield       that


   fully protects              the        trainee's              face.          Because             the        helmet       provides

   complete facial protection,                                 on the          day of           his       injury.          Plaintiff

   and    fellow         role-playing                    aggressor,            Jesse            Morgan,             did    not     wear

   safety goggles              while wearing                     the     helmet            during          the       drill.         ECF


  No.    124,      at    11.


               Outside    the       box         of       vertical        mats,            a     bench          was    set    up        for

  participants                to          get        a     breather                 after           they         completed             an
                                     \\                                   t!




   individual            drill.                 ECF        No.         124-1.                 Plaintiff               and        Nelson


  vehemently             dispute           whether               this      bench                     located              behind       an


  upright,          vertically              standing              wrestling                   mat       forming            the     live

   action        drill        box          was           designated            by     Nelson              as    a     safe        zone


  where         Plaintiff           and     others             could           take           [their]          helmet[s]           off
                                                                                                                                         //




   and    \\
               didn't    have       to     wear tt         safety glasses.                         ECF     No.       124,    at     12.


   It    is      undisputed               that           this     bench          was,           at        the        very        least.

  designated             by    Nelson            as       an     area          for        participants                to
                                                                                                                             U
                                                                                                                                 get     a

  breather in between                      [scenarios].                  Id.         at    4.
                                                                   n




           Throughout              the     training              day,     multiple                  trainees          had        backed

  out     of      the    box       before            firing       a     TASER         CEW          at      the       role-playing

  aggressor,            though            Plaintiff             claims          that          Nelson           had        instructed

                                                                   4
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   trainees            to      limit        the        action        to        inside        the        box.          Id.     at     3.



  After backing out                    of        the box,           some of       the participants fired the

   TASER        CEW       close       to     the           safe     zone"       bench.             ECF        No.     131,     at    2.


  Nelson did not                     stop the drills that ranged outside the box.                                                   Id.


   at    3 .



               Plaintiff             had    performed               the       role      of      aggressor             throughout

   the         training         day,       wearing            the    full        body        protective               suit     while

   advancing              on    an    armed        trainee.               ECF     No.        104,        at     9.         When     his


   injury occurred.                    Plaintiff             was     resting on              the        bench        immediately

   after        participating                in        a    drill        as     the     aggressor.                   Id.     at     10.


   During           the      40^^^    live-fire              scenario.            Plaintiff              took         his     helmet


   of f,        due     in      part       to      a       desire        to     cool       off      after            wearing        the

       extremely hot"                body suit.                ECF       No.     124,      at      4.     Retreating               from
   W




   an    advancing              aggressor.             an     armed        trainee           had        backed       out      of    the


  box      before           firing         the     TASER           CEW    while        Plaintiff              sat     downrange.

   ECF     No.        104,      at    9.         The TASER CEW probe                       ricocheted off                    the    gym

   floor before                striking          Plaintiff's              right eye — he was not wearing

   safety           goggles.               Id.     at        10.         According            to        Axon,        Plaintiff's

  unfortunate                  eye     injury           is     the        only       eye      injury           to     have         ever

  occurred during two decades of TASER CEW training.                                                                ECF No.        104,

  at     8 .


                                            II.        PROCEDURAL             BACKGROXJND


               On     October          21,        2019,            Plaintiff           filed            the     instant            suit


  against Defendants Axon and Nelson in the Virginia Beach Circuit

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   Court.        ECF       No.         1,    at     1.         Axon       removed           the     case        to    this    Court


   pursuant          to     28    U.S.C.            §§     1441           and    1446.            Id.       The        Court       has


   subject       matter           jurisdiction                  through           diversity             jurisdiction,               28



   U.S.C.        §        1332(a),            and        it      is        undisputed               that        Virginia           law

   controls.              In     late        2019        and     early          2020,        Axon       and      Nelson       filed


   respective motions to dismiss,                                   ECF Nos.           8,     29.        Another judge of

   this     Court          who     originally                  presided           over        this        case        took     both

   motions       under           advisement               after            ordering           limited           discovery           on


    (1)        whether           Defendant                Nelson           was      an        employee,               agent.        or




   independent             contractor               of         Defendant           Axon;           and      (2)       whether        a


   special           relationship                   existed               between           Defendant                Nelson        and

   Plaintiff          Curran           such       that        the     Court       could           impose        liability for

   the    conduct           of         a     third        party.                 ECF        No.     48,         at     2.      Axon



   thereafter             filed        a motion            for      summary         judgment,              ECF No.           49,    as

   did Nelson,            ECF No.           51.


            On       July        13,        2021,        the     Court           granted          Nelson's           motion        for

   summary           judgment,               and         partially              granted            Axon's            motion        for

   summary judgment                    on Plaintiff's vicarious                               liability claim.                     ECF


  No.     71,        at    15.              Two     months          later,         the        Court        granted           Axon's

  motion         to        dismiss                Plaintiff's                   remaining            claim           of      direct

  negligence              against Axon.                  ECF     No.       76,    at     9.        Plaintiff appealed.

   and    on    January           9,        2023,        the    Fourth           Circuit          vacated            the    Court's

   ruling        on        Plaintiff's                   negligence              claim            against            Nelson        and

   remanded for             further proceedings.                            ECF No.          81,    at     3.


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           Upon      remand,           this      case           was     reassigned               to      the      undersigned

   j udge.       After           additional           discovery               took        place,           on    December      4,


   2023,      Axon     filed          a    motion           for       summary           judgment           on     Plaintiff's

   remaining         claim            involving            the        alleged           vicarious               liability      of

   Axon for the negligence of Nelson,                                    ECF No.           101,          and Nelson filed

   a    summary        judgment            motion           later       that            same     day,        ECF    No.      103.

   Plaintiff filed a cross motion for summary judgment on the                                                              issue

   of    Axon's      vicarious             liability.                  ECF        No.     105.           All     motions      are


   now fully briefed and ripe for review.                                           See    ECF        Nos.      116-132.


                                             III.          STANDARD          OF    REVIEW



           Rule 56(a)            of the Federal Rules of Civil Procedure provides

   that a district                court       shall            grant a motion for                        summary judgment

   if   the     movant      \\

                                 shows      that      there is no genuine dispute as                                      to any

  material fact and the movant                                 is entitled to judgment as a matter

   of    law.        Fed.        R.       Civ.   P.        56 (a) .          The         mere        existence        of     some


   alleged       factual          dispute        between               the    parties           will        not     defeat     an

  otherwise          properly             supported              motion           for     summary            judgment;        the

   requirement         is that            there be no genuine                           issue of material fact.
                                                                                                                                tt




  Anderson        v.       Liberty          Lobby              Inc.,     477        U.S.        242,        247-48         (1986)


   (emphases         in    original).                      A    genuine           question            of     material        fact
                                                      \\




  exists        where,       after          reviewing             the        record        as        a     whole,    a     court


   finds      that     a    reasonable                jury        could           return         a       verdict     for      the

  nonmoving party.                        Dulaney          v.     Packaging              Corp.        of    Am.,     673     F.3d
                                 tt




  323,     330    (4th Cir.            2012).


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           The    initial burden on                           summary judgment                      falls            on     the moving

   party,       but        once        a movant              properly presents                       evidence               supporting

   summary judgment,                       the nonmoving party may not rest upon the mere

   allegations                  of     the           pleadings,                  but     instead               must         set       forth

   specific        facts              in        the     form        of          exhibits        and            sworn        statements

   illustrating                 a      genuine           issue              for        trial.             Celotex               Corp.          v.

   Catrett,       477           U.S.       317,        322-24        (1986).              To    successfully                    defeat          a

   motion       for        summary              judgment.           the          nonmoving           party            must       rely          on

   more     than           conclusory                 allegations.                     mere     speculation.                         or    the
                                                                                                                            n




    existence               of         a        scintilla               of        evidence.         II
                                                                                                                     Tao        of        Sys.

   Integration,                 Inc,       v.    Analytical              Servs.          & Materials,                 Inc.,          330       F.


   Supp.    2d 668,              671       (E.D.       Va.    2004)             (citations omitted).

           Although                  the        Court        is     not           to     weigh            evidence              or        make

   credibility              determinations                    at        the       summary           judgment               phase,          the

   Court    is   required to                         determine whether there is a genuine                                             issue

   for    trial.                Tolan V.              Cotton,       572          U.S.     650,           656    (2014)           (quoting
                      //




  Anderson,           477        U.S.           at    249).         When          assessing whether                        there          is    a

   genuine       issue               for    trial,           the    Court              must     determine                 whether          the


   evidence            presents                  a
                                                         sufficient                     disagreement                   to         require

   submission              to    a     jury or whether                          [the    evidence]               is    so     one-sided


   that    one     party              must       prevail           as       a     matter       of        law.              McAirlaids,

   Inc.    V.    Kimberly-Clark                       Corp.,        756          F.3d    307,       310         (4th       Cir.       2014)

   (quoting        Anderson,                     477         U.S.           at     251-52) .                    In        making           its

  determination,                      the       district          court          must     view       the        evidence             in    the


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   light most           favorable                  to    the     nonmoving party.                         Jacobs     V.        N.C.


   Admin.     Off.          of     the         Cts.,           780        F.3d    562,        568     (4th        Cir.        2015)

   (cleaned up)             (quoting Tolan,                     572 U.S.         at 657).

           When        faced        with            cross-motions                for     summary            judgment,           the


   Court    must           consider each motion separately on its own merits to

   determine          whether           either            of    the        parties       deserves           judgment          as    a


   matter    of       law.         Defs.            of    Wildlife v.             N.C.        Dep't    of    Transp.,           762
                             tt




   F.3d     374,           392      (4th           Cir.         2014)           (quoting        Bacon        v.      City          of

   Richmond,          475    F.3d        633,           638     (4th Cir.             2007)).         In    so doing,           the

   Court     must           resolve                all        factual          disputes        and         any    competing.

   rational        inferences              in           the     light          most     favorable           to     the        party

   opposing that motion.                                Id.      (quoting Rossignol v.                      Voorhaar,           316
                                              //




   F.3d 516,          523    (4th Cir.                  2003)).

                                                         IV.    DISCUSSION



           The        Court        will            first        address           Nelson's          summary          judgment

   motion,       then Axon's motion,                           and finally Plaintiff's motion.

                             A. Nelson's Motion for Summary Judgment

           Nelson           seeks       summary                judgment          on     Plaintiff's               sole        claim

   against       him — negligence.                             Nelson          argues    that       Plaintiff            assumed

   the    risk        of     eye        injury            when        he       took     off     his        eye    protection

   during        an    active            law            enforcement              exercise           and      that        he     was

   contributorily negligent by removing his                                             eye protection.                   Either


   defense,       according              to        Nelson,           bars       Plaintiff's           negligence              claim

   against       him.             ECF    No.            103,     at       1.      The     Court        first        addresses


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   Nelson's                 argument         on       assumption           of        risk        and         then          turns     to

   contributory negligence.

                                               1.    Assumption of the Risk

            Under Virginia                     law,        a person's voluntary assumption of                                       the

   risk     of         injury         from      a known danger operates                           as        a        complete       bar
                                                                                                                 u




   to recovery for a defendant's alleged negligence in causing that

                            Manchanda v.             Hays Worldwide,                 LLC,       142     F.       Supp.       3d 465,
                  //

   in^ury●


   473     (E.D.             Va.    2015)           (quoting       Thurmond v.              Prince              William       Prof'l

   Baseball                 Club,        Inc.,        265     Va.        59,      64,       574        S.E.2d              246,     259

    (2003)) .                To     establish              that     a    plaintiff              assumed              the     risk    of

   injury.              a         defendant           must         demonstrate                  that            the        plaintiff

     (1)    fully             appreciated             the     nature           and    extent           of       the        risk;    and


    (2)    voluntarily incurred that risk.                                        Manchanda,                142       F.    Supp.    3d
                                                                           n




   at     473.              The    focus       of    this     analysis               is    on    the        risk       alleged       to

   have      caused                the    injury.           not     merely           the        risk        inherent           in    an

   activity.                   Id.;      see     also Amusement                 Slides       Corp,          v.       Lehmann,       217
                       tt




   Va.     815,             819,    232    S.E.2d           803     806         (1977).          Under           Virginia          law.

   the     controlling                   standard           is     subjective.               requiring                an     inquiry


   into            what            the     plaintiff               fully         appreciated,                    not         what     a

   reasonable person would have                                   known.          Manchanda,                142       F.    Supp.    3d
                                                                           //




   at     473.         The defense of assumption of risk ordinarily presents                                                          a


   jury question                     unless          reasonable          minds            could    not           differ       on    the


                       Thurmond,           265       Va.    at    64,    574      S.E.2d at            250.
             //
   issue.




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             Nelson       argues        that         Plaintiff         fully           appreciated             the       nature

   and     extent        of     the    risk of         eye     injury           during        TASER CEW training

   and     therefore           assumed        the     risk    as    a matter            of    law.          ECF No.        104,


   at      10.          Nelson        supports         this       argument             by     citing          Plaintiff's

   deposition                 testimony.              where         Plaintiff                 acknowledged                  his


   understanding                of     the      Instructor            Release               form       and        TASER     CEW

   product         warnings:            I      [Plaintiff          Shawn        Curran]            assumed          the    risk

   of    the      warnings           that      we've       gone    over         numerous            times         about     the

   penetration into the                       eye    and that         it does           cause injury and that

   it' s     dangerous.                 Id.     at    6.      Indeed,           Nelson            reminds         the     Court
                                U




   that      Plaintiff           testified            that     anybody               entering          the     gym       needed

   to      wear         the     protective             eye      gear.             further              asserting           that
                                                                           n




   immediately                before         Plaintiff         was         injured.               he     saw        a     TASER


   discharge close to the                       so-called safe                 zone and was              thereby alert

   to the risks of eye                   injury in the safe zone.^                            Id.      at     10.


             In    response.           Plaintiff           argues          that        he    did       not     assume       the

   risk      that       Nelson        would manage            and      execute              the    training             session

   in    a     negligent             manner,         permitting            trainees           to       fire       TASER     CEW

   probes         from        outside        the     box     and      in       the     direction             of     the    safe




   ^ Nelson supports this argument by citing the blurry video of the training
   session, which purports to demonstrate that Plaintiff participated in
   drills that ranged outside the box and sat on the safe zone bench while
   other drill sessions transpired nearby.   However, the video, on its own,
   fails to establish that Plaintiff fully appreciated the risk of a probe
   bouncing into the safe zone, as it is unclear whether previously deployed
   probes        had    bounced       into     the    safe    zone,    nor        is    it    clear      to       what    extent
   Plaintiff observed the nearby probe deployments while recuperating on the
   bench.         See   ECF    No.    104-9A.

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   zone.         ECF No.          124,      at    21.      Plaintiff           insists         that    Nelson          stated


   that        Plaintiff          and       others        could        take        their      helmets       off       in    the

   safe         zone.       and       relies        on     the        deposition              testimony          of     Jesse

   Morgan,        a     sheriff            and    fellow     trainee           on    the       day    of    Plaintiff's

   in]ury,            to     corroborate                Nelson's             statement          to     this           effect.


   Morgan        testified             that       Nelson         said        this    will      be    your     safe         zone
                                                             U




    [(the bench behind a protective wrestling mat)].                                                   If you are            in

   this area,              you can take             it     [(the protective helmet)]                        off.            Id.


   at    10 .     The logic of having a rest area was arguably apparent                                                      as


   it     is     undisputed             that       the     full       body         protective         gear       made       the

   role-playing                 aggressor          extremely           hot,        and     participants               desired

   to     take     off      their          helmets        during        breaks           to    moderate      their          own

   temperatures.                  ECF      No.     124,    at     16.         Therefore,         Plaintiff             argues

   he did not              fully appreciate the nature                             and extent of            the       risk of

   eye     injury          in    the       safe     zone     due        to    Nelson's          confirmation               that

   helmets            could           be         removed         and         Nelson's           affirmation                that


        [Plaintiff          and       Morgan]       didn't        have         to    have       [safety       glasses]
   \\                                                                                                                         n




   while        in the      safe       zone.        Id.    at    11.


           Based           on    the        conflicting           evidence,              the    Court       finds          that

   Nelson         fails          to     carry       his     burden            to     demonstrate            on        summary

   judgment that Plaintiff                         assumed the               risk of          an eye       injury while

   resting without his                      helmet        on in the           designated rest               area.           The


   record         before          the       Court         presents           several           genuine       issues          of

   material           fact,           including          whether         Nelson          as     master       instructor

                                                                 12
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   told Plaintiff,                       Jesse Morgan,                         or fellow trainee Chris Cook that

                                                                        safe         zone                where            participants               could
                                                                                               ft
                    bench         area
                                                                    w
   the
               \\                        //
                                                was        a



   \\
        take         [their]            helmet [s]              off"           and             didn't                have     to
                                                                                                                                   //
                                                                                                                                         wear        their


   safety             goggles.®                 ECF        No.          124,         at    4-11.                     While    Nelson            insists


   that             Plaintiff           was         aware        of          the     risk            of     eye           injury        in   the      safe

   zone,             the    contested                facts              prevent           summary judgment                              because       they

   affect              whether                Plaintiff                      fully         appreciated                       the         nature        and

   extent              of         the         risk             of            eye        injury              while            seated             in     the
                                                      //




   instructor-designated                                   safe              zone,             which                 is     one          element        of

   assumption of the risk that Nelson must prove to prevail on this

   defense.                   Burns            v.     Washington                   Metro.                 Area            Transit        Auth.,        No.



   ® Chris Cook is a lieutenant with the Newport News Shipbuilding Security
   Department and was a fellow trainee on the day of Plaintiff's injury,   In

   response to the deposition inquiry "Do you recall Master Instructor Nelson
   saying that the area outside of the mats was a safe zone?". Cook stated "I
   believe I heard him say that . .     ECF No. 124, at 5.


      It  is  undisputed  that  Plaintiff  voluntarily  took his  protective
   equipment off, so the issue before the Court is only whether Plaintiff
   fully appreciated the nature and extent of the risk of eye injury.    The
   Virginia Supreme Court's holding in Amusement Slides, 217 Va. at 820, 232
   S.E.2d at               806,    is    instructive                    on    this      issue.             The        Amusement          Slides      court
   found            that    reasonable              men    could       fully differ       as        to    whether           the plaintiff
   appreciated the nature and extent of the risk of going down the amusement
   park slide that injured him.  The plaintiff there had repeatedly ridden a
   similar amusement slide, and "moments before he incurred his own injury,
   he witnessed ... a young girl being injured on the slide."        at 819,
   232  S.E.2d at  805.  On these facts,   the Virginia Supreme Court still
   rejected the defendant's contention that the plaintiff had assumed the
   risk of injury from the slide, finding that the plaintiff did not assume
   the risk of the slide employee's  additional negligent act" of failing to
   slow    him         down       on     the        slide.              Id.        As     the            Court        observed,          "the    slide's
   slickness                was         noticeable                  from           [the             plaintiff's]             casual   glance,
   nevertheless,   it                    was for the jury to decide                                              .     .  . whether employee
   inattention   was                     a  hazard  assumed by  this                                                 plaintiff  under   these
   circumstances."   Id.   So too here.   It is for a jury to decide whether
   Nelson's   tacit  permission  to   trainees  to  range outside  the  box,
   endangering those in the instructor-designated safe zone, was a hazard
   assumed by Plaintiff.

                                                                                13
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   l:12-cv-123,                  2012     WL     2878250,             at     *2     (E.D.            Va.       July         12,       2012)

    {emphasis            added)/          see        also       Manchanda,           142            F.     Supp.           3d        at    473

    (denying            Defendant's              summary          judgment           motion               on     assumption                 of

   the     risk         because          evidence          demonstrated              that            decedent              understood


   the           general           risks        of     scuba          diving,        but            not     that           [decedent]
            \\




   fully          appreciated              the        risk       of        diving        in         conditions              allegedly

   made          more         dangerous              by        Defendants'               negligence.")                          Nelson's


   motion          for        summary      judgment              based       on     Plaintiff's                  assumption of

   the     risk        is     therefore          DENIED.


                                           2.    Contributory Negligence

            Nelson               next      argues              that         Plaintiff                was        contributorily

   negligent                as     a    matter            of     law.             Contributory                   negligence,                 a

   distinct legal concept                            from assumption of                       the        risk.    is        a     defense


   based on an objective                             "reasonable person"                      standard.                    On     summary

   judgment,                 the        defendant-movant                     must         demonstrate                       that           the

        plaintiff           failed to act as                    a reasonable person would have acted
   \\




   for his own safety under the                                  circumstances.                          Ponirakis              v.    Choi,
                                                                                               //




   262     Va.         119,      124,     546        S.E.2d      707,        711    (2001);               see    also           Lampe v.

   Kim,          105    F.       App'x     466,        469       (4th       Cir.     2004) .                The            essence          of


   contributory negligence                            is       carelessness.                   Ponirakis,                  262       Va.    at
                                                                                     n




   125,          546        S.E.2d        at     711.            Determining                  whether             a        party           was

   contributorily                      negligent           is         an     issue        of         fact        for        the           ]ury


   unless         reasonable             minds        could      not       differ        on     the        issue.               Id.
                                                                                                                      //




                                                                      14
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               Nelson     argues               that       the      Court           should           find      contributory

   negligence as a matter of law because Plaintiff,                                                       by removing his

   helmet         (his       only          eye       protection)              near        a     live-fire             drill       on




   moving        targets,            failed to            act     as    a    reasonable person would have

   acted        for     his         own        safety.           ECF        No.     104,        at        16-17.          In     his


   response,           Plaintiff               insists that he acted reasonably for his                                          own

   safety        under             the     circumstances                because           the         sim        suits         [that


   Plaintiff           wore         during          the   drill]        are       extremely hot.                   and    Nelson
                                                                                                             n




   had     supposedly               established             the        safe       zone        for    trainees            to     take

   off     their        helmets            and        get    a    breather.                    ECF    No.        124,     at     16.
                                                                                    H




   Plaintiff            claims            that       Nelson        affirmed              that        trainees            did     not


        have    to     have          safety          goggles       in       the     safe           zone     and       permitted
   w                          //




        various participants to go without eye protection.                                                         Id.    at     11,
   \\




   17 .



               Based    on         the     competing             versions          of     the        facts.        reasonable


   minds        could     differ               as    to     whether         Plaintiff               was     contributorily

   negligent           when he            removed his             helmet          while        sitting           in     the     safe

   zone.             Viewing         the        evidence          in        the     light           most     favorable            to

   Plaintiff,            a          jury        could        reasonably                 find         that        the      master

   instructor's assurances — including that                                              the       "safety area is for

    [participants]                  to     relax,         [and]        take        [their]           equipment            off

   were        sufficient                for     a    reasonable             person           to     conclude            that     it

   would be safe to briefly remove                                 their helmet while on the bench.

   After         all,         the         aggressors              were            clad        in          extremely             hot

                                                                  15
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   protective suits and trying to avoid overheating by taking their

   helmets        off     to           get     a      breather.                     ECF        No.      124,        at        17.
                                  \\




   Additionally,           the         location            of         the     bench         was      shielded            by     a

   vertical       wrestling             mat         and        two     officers           testified            that        they

   believed        that     the         CEW's        were            not      supposed          to      be    discharged

   outside       the      vertical            protective                mats.            ECF      No.        124,     at       3.


   Morgan's           deposition               testimony                     further           strengthens                 this


   conclusion:          Nelson         told     Morgan              and      Plaintiff         that      they        didn't


   have    to have        [safety glasses]
                                                           n
                                                                in     the     safe      zone.        Id.      The       issue


   of    contributory          negligence                 is    therefore           reserved            for    the       jury.

   and Nelson's          summary judgment motion is DENIED.

                           B. Axon'S Motion for Siimmary Judgment

           Following        the        previously               assigned            judge's          ruling         granting

   Axon's       motion    to    dismiss,             ECF No.           76,     Plaintiff's            sole      remaining

   claim    against        Axon         is    vicarious               liability          for      Nelson's          alleged

   negligence.           ECF     No.         102,     at       1.      Axon       argues       that      it    cannot          be

   held    liable        for     Nelson's             actions               and     thus       should         be     awarded


   summary       judgment       on      Plaintiff's                  vicarious         liability claim.                       Id.


   The    Court        briefly          sets        out         the         applicable          law      below       before

   addressing Axon's argument.

           Under      Virginia           law.         the           doctrine        of      respondeat              superior

   imposes       tort    liability on an employer for                                  the      negligent acts                 of

   its    employees,           i.e. ,        its      servants,               but     not      for      the    negligent

   acts    of    an     independent            contractor.                    Sanchez        v.      Medicorp         Health
                                                                       /t




                                                                16
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   Sys. ,     270           Va.          299,      305,         618       S.E.2d            331,        334     (2005);       see         also

   Restatement                     (Second)             of      Torts           §     409         ("[T]he        employer            of       an

   independent contractor is not liable for physical harm caused to

   another             by          an       act         or         omission            of         the     contractor              or         his

   servants.               ) . 8
                       n




            An independent contractor is                                            "one who undertakes to produce

   a    given         result              without             being        in       any      way        controlled         as       to       the

   method by which he attains                                       that     result.                   MacCoy V.       Colony          House
                                                                                             t9




   Builders            Inc.,              239     Va.        64,    68,      387       S.E.2d           760,     762    (1990) .              In



   contrast,               if       under         the        contract           the       party         for    whom    the        work        is

   being done may                         prescribe not                only what the result                           shall be,              but

   also     direct                 the      means        and        methods           by     which        the     other       shall           do

   the      work,               the         former            is      an        employer,                and     the       latter             an


   employee.                       MacCoy,             239    Va.      at       68,       387      S.E.2d        at    762        (quoting
                      u




   Craig v.           Doyle,              179 Va.            526,     531,          19 S.E.2d           675,    677    (1942)).

            To        determine                 whether a person is                          an        independent         contractor

   or employee,                    Virginia courts                    look to whether a putative employer

   exerts             control               or     [has        the]        right            to    control        the       methods            or
                 \\




   details            of     doing          the        work.        not      control              of    the    results.                Wells
                                                                                                                              u




   V.    Whitaker,                   207         Va.         616,     623,           151         S.E.2d        422,    429          (1966).


   3
     This Court's use of the phrase "employer of an independent contractor                                                                     //




   does not designate any employer-employee status, nor should it muddle the
   distinction between an employee and an independent contractor.        The
    employer" of an independent contractor simply refers to the entity or
   person who contracts for the independent contractor's services.      This
   language, "the employer of an independent contractor," is consistent with
   Virginia       case             law,     so    the    Court        uses      it    here.            See Norfolk     &     W.R.      Co.    v.
   Johnson,      207 Va.             980,       983,    154    S.E.2d 134,            137    (1967).

                                                                           17
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   Accordingly                          the power of                [the        alleged employer to]                        control is
                                    u




   the         determining                     factor         in         ascertaining                    the        alleged          agent's

   status,
                    It
                         and             [a] ctual          control        ...          is         not    the       test;       it    is    the

   right        to control which is determinative.                                                      Wynn's       Extended Care,
                                                                                              //




   Inc.        V.        Bradley,              619     F.    Appx.        216,     217         (4th Cir.             2015)       (cleaned

   up)         (emphasis                    added) ;        see     also        Texas        Co.         v.     Zeigler,             177    Va.

   557,         569,                14         S.E.2d         704,          708         (1941).                Importantly,                 the

    relationship                         of     the         parties        does         not         depend           upon       what        the

   parties               themselves                 call     it.     but        rather         in        law    what       it    actually

                Murphy v.                    Holiday         Inns,       Inc.,     216 Va.               490,       492,    219       S.E.2d
          tt
   IS .



   874,        876        (1975) .

               Whether                  a     person          is     an         independent                    contractor             or     an

   employee               is        fact       dependent and generally a question for a jury.

   Atkinson                   v.     Sachno,           261         Va.     278,         284,         541        S.E.2d          902,        905


    (2001) .             A court decides                      the question only when reasonable minds

   could        not           differ.           MacCoy,           239 Va.         at    68,        387        S.E.2d at         761.

                                                    1. Nelson's Employment Status

               The            thrust           of    Axon's          summary            judgment               argument          is        that

   Nelson            was           not       Axon's         employee,            but     rather               was    an     independent

   contractor,                     and       because        Axon     is     not    liable            for       the       actions       of    an


   independent                      contractor,               Plaintiff's               vicarious                   liability          claim

   fails        as        a        matter       of     law.         ECF     No.        102,        at     1.        To    support          this

   argument.                   Axon           first         points         to      the             Independent              Contractor

   Agreement                   with Nelson,                  noting that the agreement plainly states
                         tt




                                                                           18
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   that        Nelson            is     an       independent                   contractor,                not        an         agent        [or]

   employee"               of    Axon.            Id.           at     15.         Axon        stresses          that,            far       from



   simply            being        a    label.                   the    independent                 contractor              relationship
                                                      //




   was        supported               in     practice                 because           Nelson          was     never            on     Axon's

   payroll,            was        employed                  full-time              by       the     West        Virginia              Natural

   Resource            Police,             and         had        discretion                  to    decline          any         of     Axon's

   requests            to       teach        a    course.                  Id.     at       16.         Conversely,              Plaintiff

   argues            that       there        is       a         genuine           dispute          of    material               fact    as     to

   whether            Nelson            was       Axon's               employee,               and        thus        the         issue        of


   Nelson's            employment                status               should        be       submitted          to     a        jury.        ECF



   No.        123,    at        17-19.


              After reviewing the                               summary judgment                    record and drawing all

   reasonable               inferences                in Plaintiff's                        favor.       the    Court           finds       that


        the     facts           do      not       lead            to       a       single           conclusion.                  rendering
   \\                                                                                                                      It




   Nelson's            employment                 status               a     question              of    fact        for        the     jury.
                                                                                                                                                n




   McDonald            v.       Hampton           Training                 Sch.         for    Nurses,          254        Va.        79,    87,

   486        S.E.2d            299,       304             (1997).                As        argued        by     Plaintiff,                 Axon

   clearly            controlled                 at        least        some           of     the       means    and            methods        to

   accomplish               the       result               of    the       trainees'               certification.                     ECF    No.


   123,        at     8.         Among           these            means           and       methods.       Axon        provided              the

   PowerPoint               presentation,                       the     training videos,                       the    warnings,              and

   the        written           test.        Id.           at    9.        Nelson was required to present the

   lengthy             Axon           PowerPoint                      without               modification               and            had      to


   administer and                     grade           an Axon-designed written                                 test       according            to

                                                                             19
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   Axon's        standards.                       Id.       at    9.      Indeed,          Nelson's           agreement              with

   Axon         stipulates                   that           Nelson             agrees      not       to       deviate            from,
                                                                          \\




   diminish.                 dilute.                   minimize            or         contradict              any          Training

   Materials.                 Id.           at    15.
                       //




           Moreover,               since           the       Court      must      construe          the   evidence              in    the


   light most                favorable                 to    Plaintiff           as    the     nonmovant.                Nelson       was



   required           to          conduct,              without          alteration,              the         static           drills
                                                                                                          u




   that     Axon             taught              him.            ECF     No.      123,       at     11.          Nelson              even


   testified            that        he           was    taught         by Axon         employees          the
                                                                                                                    \\
                                                                                                                         box    drill   n




   that ultimately                      injured              Plaintiff,          and Nelson acknowledged                             that

   he     set    up         the    drill           that          day    just     as    he had been              instructed             to

   by Axon employees                         in a previous training session.                                    Id.       at    13-14.


   What's       more.         Nelson              testified             that      I     thought         I was     a       part       time

   employee             of        Axon's,              he    is    directly           paid     by    Axon,        he       received
                 tt




   his     own        TASER         CEW           training             exclusively           from       Axon,       he         may    not

   subcontract                Axon           work           to    someone         else,       and       either           party        may


   terminate           the         agreement                at    any time        for      any    reason.                Id.    at    14-


   15 .     The       Court does                   not       assess      the      credibility of                this       evidence

   at     the    summary            judgment                 stage.       but     simply         concludes               that    it    is

   sufficient               for         a        reasonable            jury      to     find      that        Axon        exercised

   control        over            the       "means          and    methods"           of   Nelson's           work        as    master


   instructor.               for instance through Axon's                                   reservation of the right

   to     terminate               Nelson               at    will       and      the       prohibition           on        Nelson's




                                                                         20
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   subcontracting any aspect                                    of   the work.^               See        Texas          Co. ,    177    Va.


   at    567,     14 S.E.2d at 708                             (finding that the right of either party

   to     terminate                  the         contracted-for                       services               at        will      without


   incurring                    liability                        suggested                    an             emp1oyer-emp1oyee

   relationship);                    see also Hann v.                      Times-Dispatch Pub.                          Co.,      166   Va.

   102,       108,     184        S.E.          183,       186       (1936)        (holding             that       the plaintiff,

   a    newspaper               delivery              boy,       was       an     employee              in    part          because      he

   could        not         subcontract                    his        work        to      others,             was           subject      to

   discharge           at        will.           and       could           not    deviate           from           the      prescribed

   newspaper           route).                   A    reasonable                 jury     could          therefore               conclude

   that       Nelson        was           an     employee             of    Axon's,           and        thus          Axon's      motion


   for summary judgment on this issue is DENIED.

                                       2. Independent Contractor Exception

              Even     if         the          Court           found       that        Nelson           was        an       independent

   contractor              as     a matter                of    law,       summary        judgment would still                          not

   be     appropriate                  due           to    an        exception           to        the        general            rule    of

   employer            non-liability                           for         the         acts         of            an        independent

   contractor.                  As     stated             above,       the       default           rule       "in Virginia,              as

   elsewhere.              is     that         the        employer of             an independent                       contractor        is

   not    liable            for        physical                harm        caused        to     another                by   an    act    or



   ^   Axon   stresses          that       it
                           did not control, nor could it, any portion of the
   Day 2 practical training during which Curran was injured.    ECF No. 132,
   at 3 .  But Axon fails to adduce any case law suggesting that the Court
   should discount               the      control          Axon      exercised         over     Nelson      on day one of only
   a    two-day      training             course.              And   there       are     enough         indicia of control by
   Axon    to   find        that       the       evidence            does       not     admit      of    but       one      conclusion."
   McDonald,         254    Va.      at    87,       486   S.E.2d at         304.

                                                                       21
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   omission       of        the       contractor                      or       his     servants.                  Norfolk        Sc    W.R.    Co.
                                                                                                        //




   V .    Johnson,           207        Va.           980,             983,            154       S.E.2d            134,        137       (1967).

   However,       one exception to this general rule provides that                                                                       if the

   independent              contractor's                         work           will       create             a    peculiar             risk    of

   bodily        harm        to       others           unless                   special           precautions                  are      taken.
                                                                                                                                                 //




   then      an        employer              can            be             held         liable           for            the     independent

   contractor's              actions.                 Id.             at        986,       154    S.E.2d            at    138;         see    also

   T.E.    Ritter Corp.                v.        Rose,                200 Va.           736       742,        107        S.E.2d        479,    483

    (1959)       {concluding                 that                the           exception          is         applicable               when      an




   independent              contractor                                               do [es]      work             of     an     inherently

   hazardous           character             .    .     .             [(where)]            it is        likely that                   injurious

   consequences                  to     others                        may            arise.       unless                all      reasonable


   precautions              [are]       taken                to        the           end     that       third            persons         may    be

   protected against                    injury.                       (emphasis              added));             see     also Norfolk &
                                                            ff




   W.R.    Co.,        207 Va.          at       986,            154           S.E.2d at          138        (citing Restatement,

   Torts     §     416           (1934)          which                 provides               that           one        who     employs         an

   independent              contractor                 to             do        work         which           the        employer         should

   recognize           as     necessarily                         .        .     .     involving             a     peculiar            risk     of

   bodily     harm          to    others              unless                   special         precautions                are         taken,    is

   subject        to        liability                 for             bodily           harm       caused            to        them      by     the

   failure        of    the           contractor                      to       exercise          reasonable                   care      to    take


   such precautions.")                      10




     See also Kinsey v. Spann, 139 N.C. App. 370, 374, 533 S.E.2d 487, 491
   10



   (2000)  (explaining  that   the  exception applies when  an  independent
   contractor undertakes    "inherently dangerous activities," defined   as

                                                                                22
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           In    a    seminal            case       addressing                   the       exception,               the        Virginia

   Supreme        Court           cautioned               that        the             exception               should                not     be

   interpreted             too    broadly.                Norfolk           Sc        W.R.    Co.,       207            Va.         at    987,

   154     S.E.2d         at     139.           The       Virginia               Supreme              Court         rejected               the

   argument that                the     special precautions                            exception             should apply to

   the    work       of     transmitting              hot       steam            through           a    specialized                      steam

   hose,       explaining               in    the      context              of         that           case         that             [while]
                                                                                                                               \\




   uncontrolled steam                    is dangerous             .     .         .    the    transmission of                            steam

   in    its    normal          and ordinary mode                 does                not.    in       the         natural           course


   of    things,           create         a     condition              involving                  a     peculiar               risk         of

   bodily harm unless                    special precautions                            are    taken.                   Id.         at    988,
                                                                                                              tf




   154    S.E.2d          at     140.         In    contrast,               in        T.E.     Ritter,              the        Virginia

   Supreme       Court           found        the     exception                  applicable              when            the         danger

   posed by an independent                         contractor's movement of heavy equipment

   across       train           tracks        required           warning                   oncoming            trains               of     the

   hazard.           T.E.       Ritter,         200       Va.    at     743,            107       S.E.2d            at    484.             The


   Virginia          Supreme            Court       also        applied                the    exception                  in         Bowers,

   where        construction                 work      had       destabilized                         canal             banks,            thus


   requiring          the             special         precaution                      of      shoring               the        unstable
                                                                            //




   banks.        Bowers          V.     Martinsville,             156            Va.       497,        515,        159        S.E.        196,

   202    (1931) .li



   activities that carry with them certain attendant risks, but whose                                                                     risks
   "can be eliminated by taking certain special precautions.").
   11
        The Roanoke        Circuit        Court's         application of                   this exception in Harman v.
   Nininqer,     83       Va.    Cir.    280,      281,    2011       Va.        Cir.      LEXIS       262,        at    *3    (2011)        is

                                                                 23
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           Although            "special          precautions"                may be           found as        a matter of

   law,    the       application of                   this     exception                 often       must     be       left       for


   the    jury to           consider            in light of                 the particular conditions                             and

   circumstances               of     each      case. //12            Kinsey,         139 N.C.        App.       at    376,       533

   S.E.2d       at    492.          To    that        end.    a jury may be required to consider

   whether an activity poses                            the    requisite                "peculiar risk of                   bodily

   harm.         Norfolk            & W.R.       Co.,       207       Va.    at       988,    154    S.E.2d at             140.
           n




           After         reviewing              the     parties'                 arguments,           the     Court          finds

   that    Axon          has     failed          to     carry          its       summary        judgment           burden          on

   this        issue.            As      noted.         Axon           argues          that      this       exception              is

   inapplicable             as       a    matter        of        law.           ECF     No.        102,     at       19.         But



   genuine       issues          of      material           fact       prevent          the     Court       from deciding

   whether       the        special            precautions             exception              applies        to       the    TASER

   CEW    training             at     issue.            Construing                the        evidence       in     the       light

   most        favorable            to    Plaintiff,              a    reasonable              jury     could          find       the

   special           precautions                exception              applicable               because           TASER           CEW


   training poses               a "peculiar risk of bodily harm to others                                                   unless
                                                                                                                       n




   special       precautions               are        taken.           Norfolk           &    W.R.    Co.,        207       Va.    at

   988,    154       S.E.2d at            140.        Indeed,          TASER CEW              trainees       use       a device


   also    instructive.                  The    Harman        court         found       that   digging a hole and
   installing        a    water       line      in    the    middle         of    a    well-traveled highway is an
   inherently dangerous activity and requires special precautions to be taken
   for the protection of the public.   Id.

   12
      Other courts have explained that the special precautions exception may
   apply when measures are taken to mitigate the risks of an "inherently
   dangerous" activity; whether an activity is "inherently dangerous" is
   often an issue for a jury.   See Amtrak v. Rountree Transp. & Rigging, 286
   F.3d 1233,        1249      (llth Cir.        2002).

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   designed         to     incapacitate                    threats            to         law         enforcement                    by

   discharging            sharp.           deenergized                     probes        at          a              role-playing

                         Axon's        Product            Warning            states                that             TASER    probes
                                                                                              \\

   aggressor.


   have     small     dart       points            which        may        cause       penetration                     injury       to

   blood     vessels,          arteries,             [(and)]          internal           organs,                     among    other
                                                                                                          //




   serious     risks.          ECF No.            106,    at    6.


            Moreover,           training             participants                  playing                the           role        of

   aggressor must              wear    robust            full-body suits with                         face            shields       to

   protect     themselves             from        these probes.                   This    suit            is designed               to

        handle the conductivity of                       the brunt of the TASER.                                      Id.    at    12.
   \\                                                                                                          tt




   In     finding    the       special precautions                         exception applicable when an

   exposed         electrical              wire          shocked            the        plaintiff,                     the     North

   Carolina Supreme Court emphasized that                                     the danger of                          electricity

   made     the     construction                  work     at        issue        in    that         case             inherently

   dangerous.            Peters       v.    Carolina            Cotton        &    Woollen           Mills,             199       N.C.


   753,     754,    155     S.E.       867,         868        (1930).            Relatedly,                    a     jury    could

   reasonably        find       that       Nelson          was        hired        to    do         work             involving       a


        dangerous        instrument,                 exposing               Axon         to         liability                 under
   W                                         tt




   Virginia         law        for         Nelson's             negligence                as         an              independent

   contractor.           See DuPuy-German v.                         Perwaiz,          107 Va.            Cir.         358,       363,

   2021 WL        6550405,       at    *10         (2021)        (noting          that    it         is         "well       settled

   in     Virginia       and     elsewhere               that        one    who        engages            an         independent

   contractor        to    .               use       a    dangerous               instrument                                 cannot



   relieve     himself         of     responsibility,                  if the           independent contractor

                                                                25
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   fails     to      exercise          due      care.")                Accordingly,                    to     the        mind        of    a

   reasonable           juror,         the      hazards           and        risks        associated with                           TASER


   CEW training may pose a                           peculiar risk of bodily harm.
                                                >\                                                                  //




           Finally,          as        the      Virginia               Supreme               Court           noted            in     T,E.

   Ritter,        the       special            precautions                  exception             is         more        likely           to

   apply     when       precautions                  are     required              to    protect               third           persons


   against        injury.            T.E.      Ritter,        200       Va.       at    742,       107        S.E.2d           at    483.

   Here,    observers of                  TASER CEW          training              were       all           required to              wear


   eye     protection,                 additional                evidence               that           counsels                against

   granting          Axon's          motion.               Just        as     the       Virginia               Supreme              Court

   noted        in      T.E.           Ritter              that         there           was
                                                                                                       \\
                                                                                                            ample         evidence
                                                                                                                                           n




   demonstrating             that       the     employer knew                  and recognized the                              risk of

   the    activity          at       issue,      here,        a    factfinder                 need           look        no    further

   than    the       PowerPoint             presentation                prepared             by    Axon           to      find       that

   Axon was        aware of            the     dangerousness                  of       discharging a probe from

   the    TASER      CEW.        Id.      at   741,        107    S.E.2d at             483.


            In       sum,        a     reasonable             jury           could           find           that         TASER        CEW

   training        poses         a     peculiar            risk        of     bodily          harm           to     others           that

   requires        special           precautions                   a    full-body              protective                     suit    for

   role-playing             aggressors               and     eye        protection                for         anyone           in     the

   line    of        fire.            Axon      therefore               has        not        carried               its        summary

   judgment          burden          on      this          issue.           and        its     motion               for        summary

   judgment is DENIED.




                                                                  26
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                          C. Plaintiff's Motion for Summary Judgment

           Plaintiff           argues          in        his    cross-motion                  for     summary               judgment

   that     the    above-discussed                      "special           precautions"               exception               should

                                                                 13
   apply     here    as        a    matter          of    law.             ECF     No.         105,    at         1.         To    that


   end,     Plaintiff              maintains              that        if    Nelson             is     found            to     be     an


   independent            contractor.                    the      special           precautions                         exception
                                                                                                              //




   necessarily            applies              and            holds        Axon          liable              for            Nelson's


   negligence.            ECF No.            106,       at 2.

           In      response.                 Axon        contends            that             Plaintiff                 conflates


   'special        precautions'                with            common       sense             safety         measures,              and

    [(incorrectly)]                suggests             Axon's        warnings,           protocols,                   and    safety

   equipment        are    themselves evidence of                            the     ' special precautions.
                                                                                                                                     /   //




   ECF     No.     122,        at       6.      Axon            stresses           that         the          fact           that     an
                                                                                                        \\




   activity        involves              inherent              dangers        or    potential                 hazards              does

   not,    by itself,              give rise to the exception.                                  Id.     at    7.
                                                                                         //




           In this        cross-motion for                      summary judgment.                     Plaintiff               is    now

   the     movant,        so       the       Court        construes           all    evidence                in        the        light

   most    favorable           to    the      nonmovant.              Axon.        The         Court     concludes                 that


   Plaintiff has           failed to carry his burden on summary judgment for

   the    application              of    the            special       precautions                   exception                to    this
                                                    w




   case.         There    is        a genuine             issue       of    material             fact        as        to    whether

   TASER     CEW     training                poses        a     peculiar           risk         of     bodily               harm     to

   13
     while Plaintiff argues in other filings that Axon was   Nelson's common-
   law employer/principal,  Plaintiff concedes that   whether Axon and Nelson
   stood in a common-law employer/employee relationship is here a question of
   fact for the jury.   ECF No. 106, at 2.

                                                                 27
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   others           unless           "special precautions"                            are       implemented.                 Norfolk &
               ft




   W.R.        Co.,        207       Va.     at      988,      154        S.E.2d           at    140.         There          is    enough

   evidence              for     a    reasonable               jury        to       find        that    TASER       CEW        training

   did    not         pose          the     requisite               peculiar           risk.            For       example,             video

   evidence               before           the       Court          reflects               that        observers,              clad       in


   civilian           clothing,                casually watched the                             box    drill unfold                inside

   an ordinary gym.                         Indeed,         the drill perimeter was                                established by

   standing               up     common           wrestling                mats,           and        the     only           protective

   equipment              required             for    observers                    and most           participants                was    eye


   protection.                   The TASER CEW probes                              were deenergized and had their

   sharp        points           shortened              for         training           protection.                  Additionally,

   Plaintiff's                 eye        injury          is    the        only        eye           injury        known          to    have

   occurred           in Axon's                two-decades                of       TASER training.                  ECF       No.       104,


   at    8.         When       this        evidence            is    considered                 in    the    context          of       other


   Virginia           cases where                 the       court declined to                         apply        the exception,

   it     is        clear        that        summary           judgment               is    not        appropriate                on    this

   record.                See,       e. g. ,      Epperson           v.        De    Jarnette,              164    Va.       482,       489,

   180        S.E.         412,        415        (1935)            (declining              to        apply        the        exception

   because           a     sawmill             that       started              a    fire        was         not    so        inherently

   hazardous
                      U
                            to       make      an     owner         liable           when        he    had        surrendered            its


   use    to another).


              Furthermore,                  to      the     extent             that        Plaintiff          argues          that       the

   use        of      a        full-body             protective                    suit      constitutes                 a        special

   precaution"                 as     a    matter         of        law,        the    Court           disagrees.                 ECF    No.



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   106,     at       12.          Plaintiff               fails            to       carry        his      summary       judgment

   burden       on    this            issue.            Unlike           in     T.E      Ritter,          the    use    of    full-


   body     protective                 suits        in        this        type        of      TASER       CEW     training       is

   apparently             a     routine            safety            measure             designed          to     protect       the

   role-playing aggressor,                          not an exceptional precautionary                                      measure


   to    warn     unsuspecting                    third         parties             of     impending            danger.       T.E.



   Ritter,        200      Va.        at     743,        107        S.E.2d       at       484;      see    also       Harman,    83


   Va.     Cir.      at       281,         2011     Va.        Cir.           LEXIS        262,      at    *3     (finding      the

   exception applicable                          where        an     independent                contractor dug a hole

   and     installed              a    water        line            in     the        middle         of    a     well-traveled


   highway,           thereby                requiring                   special              precautions               for     the


   protection of                the     public). 14                 And       the     use of         protective         suits    is

   plainly not             a special               precaution of                     the      same     kind      or degree       as

   the    shoring          of     infirm canal                  banks           during        bridge        construction in

   Bowers.           156      Va.       at       515,     159        S.E.       at       202.       The    Court       therefore


   DENIES Plaintiff's motion for summary judgment.

                                                         V.     CONCLUSION



           For       the        reasons           explained                in       detail          herein,       the     summary

   judgment          motions               filed         respectively                    by       Axon,         ECF    No.     101,



   14
         Plaintiff         does       not     appear           to    address
                                                    Virginia Supreme Court's          the
   observation        in      Norfolk        &    W.R.    Co.       that
                                                        injury there "resultedbecause         the

   from negligence in the manner of doing the work and not from the nature of
   the work itself,     the special precautions exception was less likely to
   apply,    207 Va.  at 988,   154 S.E.2d at  140.  Similarly,   a jury could
   reasonably conclude that Plaintiff's injury here resulted from Nelson's
   negligent   oversight   of the   training drill, not   from  the  inherently
   dangerous nature of the training itself.


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   Nelson,       ECF No.       103,   and Plaintiff,          ECF   No.     105,    are    each DENIED


   due     to    the        existence      of   genuine       disputes       of     material     facts

   directly relevant to the issues raised in such motions.

           The    Clerk       is    REQUESTED    to    send    a    copy    of     this   Opinion   and

   Order    to    all       Counsel   of   Record.


           IT    IS   SO    ORDERED.



                                                                             /s/
                                                                     Mark    S.    Davis
                                                     CHIEF    UNITED      STATES     DISTRICT   JUDGE



   Norfolk,       Virginia
   January              ,    2024




                                                      30
